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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SYLVESTER FLOYD,

Petitioner,

NO. CV 21-05767-MCS (KS)
JUDGMENT

RICK M. HILL, Warden,

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Respondent. )
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Pursuant to the Court’s Order, IT IS ADJUDGED that this action is dismissed with

prejudice.

DATED: November 2, 2021 4 L Lorw:

MARK C. SCARSI
UNITED STATES DISTRICT JUDGE

 

 
